AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Wisconsin
                                                                           __________


                                                                   )
                             Plaintiff                             )
                                v.                                 )      Case No.
                                                                   )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                                                                                              .


Date:
                                                                                            Attorney’s signature



                                                                                        Printed name and bar number




                                                                                                  Address



                                                                                              E-mail address



                                                                                             Telephone number



                                                                                               FAX number


            Print                        Save As...                                                                   Reset




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